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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DAVID McNAIR #513007,

               Plaintiff,                                    Case No. 1:20-cv-63

v.                                                           Hon. Janet T. Neff

COLLIN PRATT,

            Defendant.
____________________________________/

                                   ORDER STAYING CASE

               As discussed with the parties at the time set for a Rule 16 Scheduling conference this

date, the case is hereby STAYED for a period of 90 days while defendant seeks defense and

indemnification from the State of Michigan.

               The Rule 16 Scheduling Conference is rescheduled to September 7, 2021, at 11:00

a.m. by telephone. Plaintiff’s counsel shall initiate the telephone conference.

               IT IS SO ORDERED.


Dated: June 3, 2021                           /s/ Ray Kent
                                              RAY KENT
                                              United States Magistrate Judge
